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              Exhibit 2
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                                                                                                           Gateley

Our ref: PT/AK/000338-0001

21 October 2020

PRIVATE & CONFIDENTIAL
Grosvenor Law
27 Grosvenor Street
Mayfair
London
W1K 4QP

F.A.O Mr Dan Morrison

BY EMAIL:
Dan.morrison@grosvenorlaw.com

Dear Sirs,

Our Clients: Ghanem Nuseibeh & Cornerstone Global Associates

We have been consulted by our above-named clients in relation to a number of incidents
culminating in the recovery of a recording device which had been surreptitiously placed outside
their office door at 21 Arlington Street, London.

We have been informed by DS Linden of the Counter Terrorism Unit of the Metropolitan Police
that you have been in contact with him confirming that you represent Diligence International,
and that your clients have admitted that they have had our clients under surveillance for some
time and that they have accepted responsibility for the placing of the aforesaid recording
device. Please confirm that this information is correct.

Needless to say, Mr Nuseibeh is gravely concerned and distressed regarding the activities of
Diligence International. It appears that there have been serious breaches of his privacy and data
rights and a course of conduct amounting to harassment.

Please provide a clear and unequivocal undertaking from your client that the surveillance of
our clients has been terminated and that it will not be resumed in the future. Please also confirm
the identity of the third party who retained your client’s services in this matter. Our clients
firmly believe this is directly related to our clients’ risk analysis regarding the FIFA World Cup
2022.

We await hearing from you as a matter of some urgency. In the meantime, all our clients’
rights are fully reserved.

Yours faithfully,

Gateley Tweed

Please reply by email to: paul.tweed@gateleytweed.com


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